Case 10-93904-BHL-11            Doc 1202     Filed 06/20/12    EOD 06/20/12 17:42:40        Pg 1 of 6




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 In re:                                                    )   Chapter 11
                                                           )
 EASTERN LIVESTOCK CO., LLC, et al.,                       )   Case No. 10-93904-BHL-11
                                                           )
                           Debtor.                         )

                    TRUSTEE'S MOTION TO APPROVE COMPROMISE AND
                            SETTLEMENT WITH GARY SEALS

                    Pursuant to Federal Rule of Bankruptcy Procedure 9019, James A. Knauer, as

 chapter 11 trustee (the "Trustee") for Eastern Livestock Co., LLC ("Debtor" or "Eastern"), by

 counsel, respectfully moves the Court for approval of a compromise and settlement of claims by

 and between the Trustee, Gary Seals d/b/a Gary Seals Livestock ("Seals") and Fifth Third Bank

 ("Fifth Third") (collectively, the "Parties"). In support of this Settlement Motion, the Trustee

 states as follows:

                                     Introduction and Background

                    1.     Gary Seals is a Dunlap, Tennessee cattle merchant who served as a branch

 manager for the Debtor. Seals bought and sold cattle for Eastern's account as well as for his own

 cattle farm.

                    2.     Since December 2010, the Trustee, with the assistance of Receiver

 Elizabeth Lynch, other forensic accounting experts at DSI, and counsel, has investigated the

 merits of possible claims that the Trustee could assert against Seals. During the spring of 2011,

 the Trustee concluded that sufficient merit existed to pursue claims related to the Debtor's early

 November 2010 directed transfers to Seals of approximately $1.3 million in endorsed customer

 checks. The Trustee also suspected that additional claims could exist related to other pre-petition

 transfers.



 BDDB01 9240478v1
Case 10-93904-BHL-11         Doc 1202          Filed 06/20/12   EOD 06/20/12 17:42:40        Pg 2 of 6




                3.      Seals cooperated with the Trustee's investigation. Seals, however,

 disputed the Trustee's claims and maintained that he was unaware of and not directly involved in

 the check deception and inventory fraud scheme perpetrated by the Debtor's former officers.

 Seals also provided information to support set off claims related to money and livestock services

 that he provided to Eastern. Because of Seals' long and close association with Eastern's business,

 there also exists a real potential for claims between Seals and Fifth Third.

                4.      The Trustee negotiated with Seals' representatives during the summer and

 fall of 2011, however, no agreement was reached. With the Court's approval, Phillip L. Kunkel

 was retained by Seals and the Trustee to mediate their dispute. On April 23, 2012, Mr. Kunkel,

 the Trustee, Seals, and their counsel traveled to Louisville for a marathon negotiating session.

 The mediation resulted in a compromise that the Trustee expects will provide a large recovery to

 the Debtor's estate of at least $1,375,000.

                5.      To avoid the significant cost, expense and delays inherent in litigating the

 disputes and claims described above, the Trustee is authorized to report to the Court that the

 Parties now desire to settle the disputes with Mr. Seals upon the terms and conditions set forth in

 the Settlement Agreement attached as Exhibit A ("Settlement Agreement").

                                           The Settlement

                6.      The Trustee requests that the Court approve the Settlement Agreement, the

 most significant provisions of which are as follows:

                        a)      The Settlement Agreement is contingent upon the Court's entry of

                a final order approving the Settlement Agreement.

                        b)      Upon the Court's entry of a final order approving the Settlement

                Agreement, Seals' counsel will deliver the following to the Trustee: (i) the

                $250,000 deposit he currently is holding in trust, and (ii) a non-interest bearing

                                                     2
Case 10-93904-BHL-11          Doc 1202     Filed 06/20/12      EOD 06/20/12 17:42:40         Pg 3 of 6




                promissory note (the "Note"), which shall be payable in eighteen (18) consecutive

                monthly principal installments of $75,000.

                        c)      If Seals makes each of the first fifteen (15) payments on the Note

                within ten (10) business days of their due date, then the last three (3) installment

                payments will be waived. In addition, Seals shall be entitled to the same credit if

                the Note is ever prepaid and if no prior monthly installments required by the Note

                were late by more than ten (10) business days.

                        d)      The Trustee and Fifth Third shall release their claims against Seals,

                and Seals shall release his claims against the Trustee and Fifth Third.

                7.      Pursuant to Federal Rule of Bankruptcy Procedure 9019, this Court has

 authority to approve a compromise or settlement on motion made by the Trustee after notice and

 opportunity for a hearing.

                8.      Under Bankruptcy Rule 9019, a bankruptcy court should approve a

 proposed compromise if it is fair and equitable and in the best interests of the estate. See In re

 Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007); Depoister v. Mary M.

 Holloway Found, 36 F.3d 582, 586 (7th Cir. 1994); Matter of Energy Co-op, Inc. 886 F.2d 921,

 927 (7th Cir. 1989).

                9.      The Trustee believes that the compromise and settlement reflected in the

 proposed Settlement Agreement is fair and equitable and in the best interests of the estate. The

 Settlement Agreement is the result of a mediated and arms-length settlement conference after

 months of research, investigation, and negotiation. The alternative to the settlement is litigation

 of complex and fact-intensive claims between the Parties, and the possibility of an outcome that

 would result in a smaller recovery to the estate.



                                                     3
Case 10-93904-BHL-11         Doc 1202      Filed 06/20/12     EOD 06/20/12 17:42:40         Pg 4 of 6




                10.     The Trustee therefore believes that the proposed settlement is fair and

 equitable and in the sound exercise of his business judgment.

                11.     If no objections to this Settlement Motion are filed, the Trustee requests

 that the Court enter an order approving the Settlement Agreement. If any objections to this

 Settlement Motion are filed, the Trustee requests that this Settlement Motion and any timely-

 filed objection be scheduled for hearing by the Court on the earliest date that is available and

 convenient to the Court.

                                               Respectfully submitted,

                                               FAEGRE BAKER DANIELS, LLP


                                               By: /s/ Kevin M. Toner

 Kevin Toner (#11343-49)                        Counsel for James A. Knauer, Chapter 11 Trustee
 Harmony Mappes (# 27237-49)
 300 N. Meridian Street, Suite 2700
 Indianapolis, IN 46204-1782
 Telephone: (317) 237-0300
 Facsimile: (317) 237-1000
 kevin.toner@faegrebd.com
 harmony.mappes@faegrebd.com




                                                  4
Case 10-93904-BHL-11            Doc 1202     Filed 06/20/12         EOD 06/20/12 17:42:40             Pg 5 of 6




                                   CERTIFICATE OF SERVICE

         I hereby certify that on June 20, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
 Electronic Case Filing System. Parties may access this filing through the Court's system.
  David L. Abt                       C. R. Bowles, Jr                     John Hunt Lovell
  davidabt@mwt.net                   cbowles@ bgdlegal.com                john@lovell-law.net

  Mark A. Robinson                   Jeffrey R. Erler                     Edward M King
  mrobinson@vhrlaw.com               jeffe@bellnunnally.com               tking@fbtlaw.com

  Randall D. LaTour                  John R. Carr, III                    Bret S. Clement
  rdlatour@vorys.com                 jrciii@acs-law.com                   bclement@acs-law.com

  Daniel J. Donnellon                Stephen A. Weigand                   John Frederick Massouh
  ddonnellon@ficlaw.com              sweigand@ficlaw.com                  john.massouh@sprouselaw.com

  John W. Ames                       Robert Hughes Foree                  Kim Martin Lewis
  james@bgdlegal.com                 robertforee@bellsouth.net            kim.lewis@dinslaw.com

  Jeremy S Rogers                    Ivana B. Shallcross                  Deborah Caruso
  Jeremy.Rogers@dinslaw.com          ishallcross@ bgdlegal.com            dcaruso@daleeke.com

  Meredith R. Thomas                 William Robert Meyer, II             Allen Morris
  mthomas@daleeke.com                rmeyer@stites.com                    amorris@stites.com

  Charles R. Wharton                 James Bryan Johnston                 James T. Young
  Charles.R.Wharton@usdoj.gov        bjtexas59@hotmail.com                james@rubin-levin.net

  David L. LeBas                     Judy Hamilton Morse                  John M. Thompson
  dlebas@namanhowell.com             judy.morse@crowedunlevy.com          john.thompson@crowedunlevy.com

  Jessica E. Yates                   John Huffaker                        Matthew J. Ochs
  jyates@swlaw.com                   john.huffaker@sprouselaw.com         matt.ochs@moyewhite.com

  Laura Day Delcotto                 Kelly Greene McConnell               T. Kent Barber
  ldelcotto@dlgfirm.com              lisahughes@givenspursley.com         kbarber@dlgfirm.com

  Ross A. Plourde                    Walter Scott Newbern                 Kirk Crutcher
  ross.plourde@mcafeetaft.com        wsnewbern@msn.com                    kcrutcher@mcs-law.com

  Todd J. Johnston                   Timothy T. Pridmore                  Theodore A Konstantinopoulos
  tjohnston@mcjllp.com               tpridmore@mcjllp.com                 ndohbky@jbandr.com

  Karen L. Lobring                   Sandra D. Freeburger                 Lisa Koch Bryant
  lobring@msn.com                    sfreeburger@dsf-atty.com             courtmail@fbhlaw.net

  Elliott D. Levin                   John M. Rogers                       John David Hoover
  edl@rubin-levin.net                johnr@rubin-levin.net                jdhoover@hooverhull.com

  Sean T. White                      Robert H. Foree                      Sarah Stites Fanzini
  swhite@hooverhull.com              robertforee@bellsouth.net            sfanzini@hopperblackwell.com

  Michael W. McClain                 William E Smith                      Susan K. Roberts
  mike@kentuckytrial.com             wsmith@k-glaw.com                    skr@stuartlaw.com

  James Edwin McGhee                 Thomas C Scherer                     David A. Laird
  mcghee@derbycitylaw.com            tscherer@binghammchale.com           david.laird@moyewhite.com

  Jerald I. Ancel                    Jeffrey J. Graham                    Trevor L. Earl
  jancel@taftlaw.com                 jgraham@taftlaw.com                  tearl@rwsvlaw.com

  David Alan Domina                  Kent A Britt                         Joshua N. Stine
  dad@dominalaw.com                  kabritt@vorys.com                    jnstine@vorys.com




                                                       5
Case 10-93904-BHL-11               Doc 1202     Filed 06/20/12         EOD 06/20/12 17:42:40            Pg 6 of 6



  Jill Zengler Julian                   Jeffrey L Hunter                      Amelia Martin Adams
  Jill.Julian@usdoj.gov                 jeff.hunter@usdoj.gov                 aadams@dlgfirm.com

  Michael Wayne Oyler                   Jason W. Cottrell                     Robert A. Bell
  moyler@rwsvlaw.com                    jwc@stuartlaw.com                     rabell@vorys.com

  James E. Rossow                       James B. Lind                         Melissa S. Giberson
  jim@rubin-levin.net                   jblind@vorys.com                      msgiberson@vorys.com

  Steven A. Brehm                       Anthony G. Raluy                      Christopher E. Baker
  sbrehm@ bgdlegal.com                  traluy@fbhlaw.net                     cbaker@hklawfirm.com

  James M. Carr                         Jack S. Dawson                        Dustin R. DeNeal
  james.carr@faegrebd.com               jdawson@millerdollarhide.com          dustin.deneal@faegrebd.com

  Shawna M. Eikenberry                  Terry E. Hall                         Jay Jaffe
  shawna.eikenberry@faegrebd.com        terry.hall@faegrebd.com               jay.jaffe@faegrebd.com

  James A. Knauer                       Erick P. Knoblock                     Harmony A. Mappes
  jak@kgrlaw.com                        eknoblock@daleeke.com                 harmony.mappes@faegrebd.com

  Christie A. Moore                     Shiv Ghuman O'Neill                   Wendy W. Ponader
  cmoore@ bgdlegal.com                  shiv.oneill@faegrebd.com              wendy.ponader@faegrebd.com

  Jeffrey E. Ramsey                     Eric C. Redman                        Joe T. Roberts
  jramsey@hopperblackwell.com           ksmith@redmanludwig.com               jratty@windstream.net

  Joseph H. Rogers                      James E. Smith                        Robert K. Stanley
  jrogers@millerdollarhide.com          jsmith@smithakins.com                 robert.stanley@faegrebd.com

  Andrew D. Stosberg                    Kevin M. Toner                        U.S. Trustee
  astosberg@lloydmc.com                 kevin.toner@faegrebd.com              ustpregion10.in.ecf@usdoj.gov

  Andrea L. Wasson                      Christopher M. Trapp
  andreawassonatty@gmail.com            ctrapp@rubin-levin.net



         I further certify that on June 20, 2012, a copy of the foregoing pleading was served via
 electronic mail transmission on the following:
  Ashley S. Rusher                      Darla J. Gabbitas
  asr@blancolaw.com                     darla.gabbitas@moyewhite.com




                                                                       /s/ Kevin M. Toner




                                                            6

 BDDB01 9326746v1
